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12

13
                                UNITED STATES DISTRICT COURT
14                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
15

16   IN RE: CATHODE RAY TUBE (CRT)             Master File No. 3:07-cv-5944 JST
     ANTITRUST LITIGATION
17   _________________________________________ MDL No. 1917

18   THIS DOCUMENT RELATES TO:                             DELL PLAINTIFFS’ AND
                                                           DEFENDANT LG ELECTRONICS,
19   Individual Case No. 13-cv-2171 (JST)                  INC.’S STIPULATION OF
                                                           WITHDRAWAL OF PENDING
20   DELL INC. and DELL PRODUCTS L.P.,                     MOTIONS

21                  Plaintiffs,

22   v.

23   HITACHI, LTD., ET AL.,

24                  Defendants.

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     STIPULATION OF WITHDRAWAL OF PENDING                                    3:13-cv-02171
     MOTIONS - 1                                                             MDL No. 1917
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 1          Plaintiffs Dell Inc. and Dell Products L.P. (collectively, “Dell”) and Defendant LG
 2   Electronics, Inc. (“LGE”), by and through undersigned counsel, hereby stipulate as follows:

 3          WHEREAS, on April 25, 2016, Dell and LGE filed a stipulation with the Court seeking
     dismissal of Dell’s claims against LGE in this action (MDL Dkt. No. 4595);
 4
            WHEREAS, on April 25, 2016, the Court granted the stipulation dismissing Dell’s claims
 5
     against LGE in this action (MDL Dkt. No. 4600);
 6          WHEREAS, at the time of this stipulation, LGE has filed, or has joined, certain summary
 7   judgment and Daubert motions pending against Dell;
 8          WHEREAS, in light of the stipulated dismissal of Dell’s causes of action against LGE, LGE

 9   seeks to withdraw certain motions, or seeks to withdraw its joinder to these motions, as they pertain
     to Dell, but not as they pertain to any other parties, or motions brought by or joined by any other
10
     Defendant;
11
            WHEREAS, Dell seeks to withdraw certain motions, as they pertain to LGE, but not as they
12
     pertain to any other parties, or motions brought by or joined by any other Plaintiff.
13          IT IS HEREBY STIPULATED AND AGREED by and between counsel for Dell and LGE,
14   subject to the concurrence of the Court, that:

15          1.      LGE withdraws the following motions, or its joinder in the following motions, as
     to—and only as to—Dell:
16
                    a) Motion for Partial Summary Judgment for Lack of Standing as to Direct Action
17
                    Plaintiffs’ Sherman Act Damage Claims Based on CRT Product Purchases from
18
                    Samsung Electronics (MDL Dkt. No. 2983, 3864);
19                  b) Motion for Summary Judgment Based Upon Plaintiffs’ Failure to Distinguish
20                  Between Actionable and Non-Actionable Damages Under FTAIA (MDL Dkt. No.
21                  3008);

22                  c) Motion for Partial Summary Judgment on FTAIA Grounds (MDL Dkt. No.
                    3032);
23
                    d) Motion for Summary Judgment Based Upon Absence of Evidence of Liability
24
                    (MDL Dkt. No. 3037, 3864);
25                  e) Motion for Partial Summary Judgment against Dell and Sharp Plaintiffs on
26                  Statute of Limitations Grounds (MDL Dkt. No. 3044);
27                  f) Motion for Partial Summary Judgment on Withdrawal Grounds (MDL Dkt. No.

28                  3086);


      STIPULATION OF WITHDRAWAL OF PENDING                                                   3:13-cv-02171
      MOTIONS - 2                                                                            MDL No. 1917
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 1                  g) Joint Notice of Motion and Motion for Summary Judgment Based Upon
 2                  Plaintiffs’ Foreign Transactions Barred by the FTAIA (MDL Dkt. No. 3003);

 3                  h) Motion for Summary Judgment (on liability) (MDL Dkt. No. 3040, 3864);
                    i) Motion for Partial Summary Judgment as to Direct Action Purchaser’s Sherman
 4
                    Act Damages Claims Based on CRT Product Purchases from NEC-Corporation and
 5
                    NEC-Mitsubishi Electric Visual Systems Corporation (MDL Dkt. No. 3026, 3864);
 6                  j) Motion to Exclude Expert Testimony of Professor Stephan Haggard (MDL Dkt.
 7                  No. 3172, 3864); and
 8                  k) Motion to Exclude Certain Expert Testimony of Professor Kenneth Elzinga

 9                  (MDL Dkt. No. 3174).
            2.      Dell withdraws the following motion as to—and only as to—LGE:
10
                    a) Motion to Partially Exclude the Expert Report and Opinions of Janusz A.
11
                    Ordover, Ph.D. (MDL Dkt. No. 3170).
12
            3.      Each of the above-referenced motions in Paragraph 1 will remain pending as to other
13   Plaintiffs’ claims to which they are directed and shall remain pending as to Dell insofar as the
14   motions have been made by or joined by other Defendants.

15          4.      Each of the above-referenced motions in Paragraph 2 will remain pending as to other
     Defendants to which they are directed and shall remain pending as to LGE insofar as the motions
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     have been made by or joined by other Plaintiffs.
17
            5.      The undersigned parties jointly and respectfully request that the Court enter this
18
     Stipulation as an order.
19
20   PURSUANT TO STIPULATION, IT IS SO ORDERED.
21   Dated: ______________
             April 28, 2016                              _____________________________
                                                                Hon. Jon S. Tigar
22
                                                                United States District Judge
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      STIPULATION OF WITHDRAWAL OF PENDING                                               3:13-cv-02171
      MOTIONS - 3                                                                        MDL No. 1917
      Case 3:07-cv-05944-JST Document 4607 Filed 04/28/16 Page 4 of 4



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22

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24   Pursuant to General Order No. 45, § X-B, the filer attests that concurrence in the filing of this

25   document has been obtained from each of the above signatories.

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      STIPULATION OF WITHDRAWAL OF PENDING                                                   3:13-cv-02171
      MOTIONS - 4                                                                            MDL No. 1917
